Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 1 of 18 Page|D #:1 “/

R E C E l VE D
UNITED sTATEs DISTRICT coURT

NoRTHERN msch 0F lLLxNols MAY 1 3 2005

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M:cHAsL w. ooaarws

CLERK, U.S. D!STRICT COURT

Kenneth Brown

 

 

 

(Enter above the full name
of the plaintiff or plaintiffs in

motion 05C 290 4

vs. Case No:
(To be supplied by the Clerk of this Court}

 

State of Illinois

 

Governor Rod Blagoj evich JUDGE CAS_II\-i-=~J

 

Judge R°“ald Hi“‘el i»=;as;a:i=:ai'i swan salem

 

Kathy Twine

 

ASA Matia Mc Carthy

 

ASA Peggy Chiampus

(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

 

 

CHECK ONE ONLY:

COMPLAINT UNDER TI-IE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (sta€e, county, or municipal defendants)

§[ COMPLAINT UNDER TI-IE CONSTITUTION ("BIVENS" ACTION), ’I'ITLE
28 SECTION 1331(a) U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO ”INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRUCTIONS CAREFULLY.

Revised 4/01 l

II.

 

Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 2 of 18 Page|D #:2

Plaintiff(S):

Name: Kenneth Brown

 

List all aliases: NOH€

 

Prisoner identification number: K - 7 5 2 0 0

 

.U.o.w.>

Placeofpresen[con§nemem; Lawrence Correctional Center

 

E. Address: R.R.2 Box 31 Sumner,Ill.62466

 

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases,
I.D. number, and current address according to the above format on a separate sheet of

paper.)

Defendant(s):

(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A_ Defendant; Ronald Himel, ASA Peggy Chiampus, ASA Maria Mc Carthy

 

Title; Judge, ASSistant State Attorneys

 

PhuNfEnmkwnmnt 2650 S. california ChiCagO,Ill.60608

 

B_ Defendam; Rod B}.agoj evich

 

Title: Governor of illinois

 

PlaceofEmployment; 207 State HOuSe Springfield,lll.62706

 

C. Defendant: Kathy Twine

 

Title, Chairman of Judicial Inquiry Board

 

PlaceofEmplOymem; 100 W.Randolph St. Suite 14-500 Chgo,Ill.60601

 

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

nevised 4/01 2

 

 

Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 3 of 18 Page|D #:3

III. Exhaustion of Administrative Remedies

You are required to exhaust all your available administrative remedies before bringing an
action in federal court

A.

Revised 4."01

Is there a grievance procedure available at your institution?

YES ( *) NO ( ) If there is no grievance procedure, skip to F.
Have you filed a grievance concerning the facts in this complaint?
YES ( *) NO ( )

If your answer is YES:

1. What steps did you take?
I wrote several letters to the Director of Illinois

Department of Corrections Roger Walker and to Governor

 

Rod Blagojevich informing them that my trial was fixed

 

and there is negative DNA evidence to prove my innocence.
2. What Was the result?

They both mentioned in a letter that they would have

there administration to look into it. But they never did.

 

3. If the grievance was not resolved to your satisfaction, did you appeal?
What was the result (if there was no procedure for appeal, so state.)

I informed every person that Governs the Illinois

Department of Corrections regarding my illegal detain-

 

ment, And no-one wants to abide by the U.S. Constitution.

 

If your answer is NO, explain why not:
N / A

N/A

N/A

 

 

Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 4 of 18 Page|D #:4

E. Is the grievance procedure now completed? YES (*) NO ( )

F. If there is no grievance procedure in the institution, did you complain to

authorities? YES (*) NO ( )

G. If your answer is YES:

l. What steps did you take‘?

As I stated on page 3 I wrote letters to Director Roger

 

Walker of I.D.O.C. and to Governor Rod Blagojevich to

 

let them know that negative DNA evidence was not intro-

 

duced during trial. And this violated my right to a fair trial.
2. What Was the result?
They did nothing.

 

N/A

 

N/A

 

H. If your answer is NO, explain why not: /A
N

 

N/A

 

N/A

N/A

 

Revised 4/01 4

 

Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 5 of 18 Page|D #:5

IV. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court (including the Central and Southern Districts of Illinois):

 

 

A. Name of case and docket number: N / A
N / A
B. Approximate date of filing lawsuit: N / A

 

C. List all plaintiffs (if you had co-plaintiffs), including any aliases: m g g
N / A
N / A
N /A

 

 

D. List all defendants: N / A
N / A

N/A
N/A

 

 

 

 

E. Court in which the lawsuit was filed (if federal court, name the district; if state
court, name the county): N/ A

 

 

 

 

 

 

 

F. Name of judge to whom case was assigned: N / A
N /A
G. Basic claim made: N / A
N / A
N / A
H. Disposition of this case (f`or example: Was the case dismissed? Was it appealed‘?
Is it still pending?): N / A
N / A
N / A

 

H. Approximate date of disposition: N / A

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE
THE ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALS() LIST ALL CASES THEY HAVE FILED.

V. Statement of Claim:

Revised 4."01 5

Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 6 of 18 Page|D #:6

State here as briefly as possible the facts of your case. Describe precisely how each
defendant is involved Include also the names of other persons involved, dates, and places.
Do not give any legal arguments or cite any cases or statutes. If you intend to allege
a number of related claims, number and set forth each claim in a separate paragraph (Use
as much space as you need. Attach extra sheets if necessary.)

The Plaintiff was denied due process of Law.

The Plaintiff was denied equal protection of the Laws.

 

The Plaintiff did not receive a fair and impartial trial as

guaranteed to him under Article 1,Secti0n 2,6,8r and Fourteenth

 

Amendment of the Constitution of the United States.

 

The Plaintiff filed several complaints on Judge Ronald Himel at

 

the Judicial Inquiry Board because he ruled out the Negative DNA

 

test that he ordered prior to my trial. Which resulted in me be-

 

ing wrongfully convicted. The complaints were filed prior,To,and

 

after trial (May lB,l998-January 4,1999#April 7,1999‘March 29,20-

 

OO-March 21,2001-May 8,2001-August 6,2002 and September 10,2002.

 

Kathy Twine works at the Judicial Inquiry Board as the Chairman.

 

She had knowledge of all my complaints but refused to do anything

 

about this corrupt Judge until he was exposed in May of 2002 by

his Superiors for anger Management Counseling. Judge Himel also

 

appeared in the Chicago Tribune Newspaper for coaching Prosecut-

ors in order for them to get rid of African American Jurors dur-

ing jury selection. June 20,2002 Judge Himel was ordered to step

 

down off the bench by the Judicial Inquiry Board due to his tem»

 

per and performance on the bench. Assistant State Attorneys -

 

 

Revised 4/01 6

 

Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 7 of 18 Page|D #:7

Maria Mc Carthy and Peggy Chiampus denied me due process by not

 

allowing Negative DNA evidence to be introduced in my trial.

 

which resulted in me being wrongfully convicted. The State are

 

not allowed to remove any evidence that is in favor to the plain-

 

tiff during trial without a jury finding and proven beyond a rea-

 

sonable doubt. That ruling came down from the United States Sup-

 

reme Court in December of 2004. The Negative DNA evidence in case

 

number 97CR-13458 proved that I was in fact mistaken for someone

 

else or framed by the Chicago Police Department{Area 5). I am

 

asking this Court to Please review all police reports,Bulletins,

 

etc. That the State had prior to my arrest(4-7-97). The Police

 

Bulletins that l viewed in this case have a start date that the

 

detectives were looking for several perpetrators in June of 1996.

And the sketches shows that any Black Male could have been charg-

 

ed for this case. And as a result of the corruption in the State

of Illinois legal system, I am being illegally detained at Law~

 

rence Correctional Center, And being deprived of life,Liberty and

equal protection of Laws. I would like this case to be reversed

 

and remanded immediately. I am asking for punitive/Monetary dam~

 

ages in the amount of 10 Million Dollars.

 

VI. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments
Cite no cases or statutes.

"I would like to be released from prison immediately".

Revi§led 4,"01

Case: 1:05-Cv-02904 Document #: 1 Filed: 05/16/05 Page 8 of 18 Page|D #:8

I hope and pray that your honors hold the State of Illinois

 

responsible for violating there oaths and the Constitution

 

of the United States of America Amen.

 

 

ET/AL

 

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information
and belief I understand that if this certification is not correct,
I may be subject to sanctions by the Court.

Signed this \ § day of |"§ ma , 20 115

 

 

maj
(Signature of plaintiff or plaintiffs)

Kenneth Brown
(Print name)

 

K-75200
(I.D. Number)
R.R.2 Box 31

 

 

Lawrence Correctional Center

Sumner, Ill. 62466
(Address)

 

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S A TE F ILLINOIS
aSe:1: 5- C-\/- 02 904 Doc§§ient#: 1 Filed: 05/16/05 Page 9 of 18 Page|D #: 9
IN THE

COUNTY OF
United States District Court

Northern District of Illinois

People of The State of Ill.

 

 

 

 

 

 

)
Respondent ) `
) CASE NO.
_ vs )
Kenneth Brown )
NOTICE OF FILING
rquMichael Dobbins Ttrxathy Twine TO$
Clerk Of Court Chairman J.I.B.
219 S.Dearborn 100 W.Randolph St.

 

 

 

 

chicago,rll.sosna Chicaqo.Ill.eosoi

 

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documents (number of copies & originals filed are listed below the addresses of

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1 Kenneth gregg being first duly sworn on`oath, deposes and avers
that he/she has caused the above stated documents m the above stated amounts, to be

served upon the above listed parties by placing the same in the U. S. MAIL BOX on
Housing Unit #__ located at Lawrence Correctional Center m Sumngr , IL for
delivery as lst Class Mail.

S/S ' i 7
NAME; Kenneth Brown

IDOC Reg.No. K-75200

Subscribed and sworn to before me thisp? y 71day of ' , QZOQS

NOTARY PUBLIC

  
 
 

    
 
 

'OFFIC|AL SEAL'
L¢AM| L. WH%'!TLEH -
-Notary Publlo, State at minors
OMnb!bn inpth ’.m'_‘-EH`ZOGS

Revised Jan 2002

  
   

 

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_ CaSe:1:05-c\/- 02904 Document #: 1 Filed: 05/16/05 Pag,po 1_0K01c t1h8y P;l-),ge|De #: 10

_§§Frr)At/rr _

I,' Kenneth'Brown 7 , AFTER BEING FIRST DULY SWORN UpgN

sr oArH, DEPosE.ANr) s'rA'rE As _r»'or,r.ows:

' 4
I wrote 8 letters prior,during,And after trial to Kathy
Twine who is Chairman at the Judicial Inquiry Board. The
letters_were to inform her about the prejudice'behavior
that Judge Ronald Himel had towards me when he ruled out
negative DNA evidence(97CR-13458) which caused me to be

. wrongfully convicted. Kathy Twine never did nothing a-
bout my complaints. But when Judge Himel appeared in the
Newspaper in May of 2002 for temperment problems. That
is when the Judicial Inquiry Board finally decided to.-
investigate him. But I informed Kathy Twine about this
unstable Judge for-Four years and she never did anything
about it. Kathy Twine response letters are dated May‘18»

'1998/January 4,1999/April 7,1999/March'29,2000/March 21~
2001/May 8,2001/August 6,,2_002/September_‘lO,iE’OO-$Z,l I haver
no other recourse but to file a 1983 in the United States

District Court for violating my 14th_Amendment.

 

 

 

 

 

 

 

 

I FURTHER DECLARE THAT ALL,STATEMENTS MADE HEREIN ARE TRUE
AND COR_RE.'CT 'I'O THE BEST OF M'Y lCNOWl.EDGE AND BELIEF.

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ga§e: E1: 0)5Fc\/- 02904 Doc§§ient #: 1 Filed: 05/16/05 Page 11 of 18 Page|D #: 11

COUNTY OF IN THE

United States District Court

Northern District of Illinois

People of The State of Ill.
Respondent

VS
Kenneth Brown

)

) .

) CAsE No.
)

)

NO"I`ICE OF FILING

TO:Judge/Ronald' Himel TO:

TO; Michael Dobbins _
2650 S.California

 

Clerk Of Court

 

 

 

219 S_Degrhgrn St Chicago,Ill.GOEOB
Chicago,lll_§o§na .
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PLEASE rates NOTE that on the 13 day of l\_’\ a 31 A,Q ,` Q,§ ,r

have filed, through the U.S. Maii, with the above named parties, the below listed
documents (number of copies & originals filed are listed below the addresses of

the parties): ¥ ` l _ _\ .. `

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13 Kenne th Brown , being first duly sworn on`oath, deposes and avers
that he/she has caused the above stated documents in the above stated amounts, to be
served upon the above listed parties by placing the same in the U. S. MA.IL BOX on
Housing Unit #__ located at Lawrence Correctional Center rn Sumner , IL for
delivery as lst Class Mail. ’ti,y/tm-.ri:}\/ - &M'wvt/

s/si|!hm,_"¢i¢!ég fgd@,m! -

NAME: Kenneth Brown

IDOC Reg. No._l§_-75200

Subscribed and sworn to before me this din`day of /LM»~_QL , lgg-!Qf.

NOT Y PUBLIC

   
 
 

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team L. Wl'll’l"l`l.£li -

Notary Publlo, State williams

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Revised Jan 2002

  

 

 

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C&S€.1.05-CV- 02904 DOCUI'Tl€ll'[ #. 1 F|l€d. 05/16/05 P@_Q€ lghO. O.f 1§ Mq!?é¢elz
Timothy Evans

_AFFIDAvrr _ _

I) `Kenneth Brown , AFTER BEING FIRST DULY SWORN UPON

ny oa'ra, DEPosr:.Aim stairs As _For.r,ows;
.q.`

I am writing to inform you that Judge Ronald Himel viola~

ted my right to a fair and impartial trial when he inten-
tionally ruled out negative DNA evidence(97CR-13458) that-

clearly shows that I was in fact mistaken for someone

else. This unprofessionalism took place prior and during

_my trial.

This is a eiear violation of the 14th Amendment. ina r
have no other recourse but to file a 1983 in the United_

States District Court for a violation of my 14th Amend-

ment Constitutional Rights.

 

 

 

 

 

 

 

 

 

 

 

 

 

f FURTHER DECL_ARE THAT ALL STA’I'EHENTS MADE HEREIN ARE TRUE

AND COR_RECT TO THE BEST OE' MY KI€OWIEDGE AND BELIEF.

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COUNTY OF ]N THE

United States District Court

Northern District of Illinois

People of The State of Ill. )
Respondent ) '
) CASENO.
)
)

, vs
Kenneth Brown

NOTICE OF FILING

TO: Maria Mc' Carthy TO:
Clerk Of Court Asst.State Attorney

219 S_Dearborn St1 2650 S.California

chicago,rll.scso<t _Qi-?i_¢_ag£¢lll_r§§jil$ -------_-~»
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have Hled, through the U. S. Mail, with the above named parties, the below listed
documents (number of copies & originals filed are listed below the addresses of

theparties): \ \ \ _r-
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.TO: Michael Dobbins

 

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Kenne th Brown , being first duly sworn on oath, deposes and avers

I, _
that lie/she has caused the above stated documents in the above stated amounts, to be

served upon the above listed parties by placing the same in the U S. MAIL BOX on
located at Lawrence Correctional Center m ammar , IL for

…
s/s

NAME:Kenneth Brown
IDOC Reg.No. K~75200

Housing Unit #w__
delivery as lst Class Mail.

Subscribed and sworn to before mathis cQ¢?'Tc,l:ay Of anyva , ¢QOCJ_S`

NOiARY PUBLIC

'OFFIOlAL SEAL’
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Notary Publlc, State of lillnnls

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Revised Jan 2002

 
    

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Case:1:05-c\/- 02904 Document #: 1 Filed: 05/16/05 Page %phg§ingg@(|_D§&]lAthy

_§§FIDAVIT _

I, ` Kenneth Brown , AFTER BEINc FIRST DoLY swoRN UPoN

m oArH, DEPosE.Al\m STATE As rFoLLows:

4
The Assistant States Attorney Maria Mc Carthy intentionally
withheld negative DNA evidenc(97CR-13458)during my trial

which caused me to be wrongfully convicted. And'for this
unprofessionalism my 5th,6th,and Bth Amendment Constitu»

tional Rights were violated.

 

I have no other recourse but to'file a 1983 in the United
States District Court for violations of my Sth 6th, and

Bth Amendment Constitutional Rights.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

T FUR',['HER DECLARE THAT ALL STATEMENTS MADE HEREIN ARE TRUE.'

AND CORREC'I' 'l'O THE BES'I' OE` HY K_`NOWLEDGE AND BELIEF.

IBED AND swo 130 BEFORE ME- M,MMM
susscs A HANT

mrs Sl‘°'\" DAY or _m ]E{/Q , 200§:_
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NOTARY PUBLIC

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Notary Pub|lo State of llllno!s
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Case: 1:05-CV-02904 Docug§nt #: 1 Filed: 05/16/05 Page 15 of 18 Page|D #:15

coorer oF IN THE
United States District Court

Northern District of Illinois

People of State of Ill.
Respondent

 

)
) .
) CASE NO.
vs )
Kenneth Brown )

NOTICE OF FILING

TO: Rod Blago`j evich TO:
Governor of Ill.

207 State House
Springfield,lll.62706

"Nl Michael Dobbins
Clerk of Court
219 S.Dearborn SL_
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have filed, through .the U.S. Mail, with the above named parties the below listed
documents (number of copies & originals filed are listed below the addresses of

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that he/she has caused the above stated documents in the above stated amounts, to be
ove listed parties by placing the same in the U.S. MAIL BOX on

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Housing Unit #____located at Lawrence Correctional Center m IL for

delivery as lst Class Mail- S/ ‘\ l t ga §§ :: 5 n
s ~ t

NAME;Kenneth Brown
IDOC Reg.No. K-75200

Subscribed and sworn to before me this c.~)fY Rday of Q,}W_O ,QQOO§.

NOTARY PUBLIC

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Revised l an 2002

 

 

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Case:1:05-c\/- 02904 Document #: 1 Filed: O5/16&Q5.@@g,@é]'_1_§6); 1§€3:>@®|3§ m vich

V§§FIDAVIT_'

I,' Kenneth Brown , AFTER BEING FIRST DULY SWORN UPON

MY oArH, D_E?oss.AND starr As roLLows.-
_ _ . 4

The current Governor Rod Blagojevich and former Governor
George Ryan have both illegally-detained me in the Illi»
nois Department of Corrections. I wrote letters to both
Governors informing them that Judge Ronald Himel denied
me my right to a fair and impartial trial by ruling out
- negative DNA evidence(97CR»13458)that shows l was in fact\

mistaken for someone else. But_both Governors refused to
do anything about the situationr The most recent letter
that l received from Governor Blagojevich is February.?~
2003. Which he stated that he will have his Administra-
tion to review my letter and determine the appropiate
action. But I never heard from him or anyone from his

'office since February 7,2003.

 

I have no other recourse but to file a l§83 in the United
States District Court for violation of the 14th Amend“
ment Constitutional Rights. '

 

 

 

 

 

 

 

I FURTHER DECLARE THAT All.STATEMENTS MADE HEREIN ARE TRUE
AND CORREC'I' TO THE BEST OF MY KNOWIEDGE AND BELIEF.

ED AND SWORN TO BEFORE ME- 7 - .\
SUBSCRIB AFFIANT

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NOTARY PUBLIC

'OFF|CIAL SEAL'

LoAMt L. WH|TTLEF! -

Notary Pubtto, State ct lltlnols
Commtsaton Exptras: 09/16/2005

 

  
  
 

 
 
   
 

   

 

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Case: 1:05-CV-02904 Docugr§nt #: 1 Filed: 05/16/05 Page 17 of 18 Page|D #:17

coUNTY oF IN THE
United States District Court

Northern District of Illinois

People of The State of Ill.

 

 

 

 

 

)
Respondent ) '
) CASE NO.
3 vs )
Kenneth Brown )
NOTICE OF FII__.ING
TO:PeggY Chiampus TO:

 

.TO: Michael Dobbins
Clerk Of Court
219 S.Dearborn St

Chicaqo.lll 60604“ _ _
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Asst.State Attorney
2650 S.California

Chicago,Ill.606OB

 

 

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served upon th -
ocated at Lawrence Correctional Centerm Sumner , IL for

Housing Unit #__l

` delivery as lst Class Mail. S/S mw

PUUUESKenneth Brown
IDOC Reg. No. K'75200

‘ TF\ ,
Subscribed and sworn to before me thisD]& day of G`M ,c>?Od$:
- f\& £.._ of QJLM`

NOTX'RY PUBLIC

 

   
     

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MMNNL.WHHH£R `
Notary Fub|lc, State of llltnois
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Revised Jan 2002

 
       

 

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I)' Kenneth-Brown , erisa santo FIRST burr swann neon

ar oArH, DEPoss.AND s'r'ArE As _Fcr,t.ows:
. 7 7 ‘
The Assistant States Attorney Peggy Chiampus intentionally

withheld negative esa evidencets-?cn_134sa)dur1eq my trial
which caused me to be wrongfully.convicted, And for this

unprofessionalism my Sth,dth,and 8th Amendment Constitu-

tional Rights were violated.

I have no other recourse but to file a 1983 in the United
States District Court for violations of my 5th, 6th, and

8th Amendment Constitutional Rights.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l FURTHER DECLARE THAT ALL SHUEMENTS HADE HEREIN ARE TRUE
AND CORRECT TO THE BEST OF MY KNGWIEDGE AND BELIEF.

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BED AND SWORN TO BEFORE ME- _
SUBSCRI AFFIANT

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